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   EXHIBIT 86
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                                                                        Page 1

1
2                UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK
3          ------------------------------------------X
           MARVEL CHARACTERS, INC.,
4
                    Plaintiff and Counterclaim-Defendant,
5
                         -against-               Case No.:
6                                                1:21-cv-7955-LAK
                                                 and consolidated
7                                                cases, Nos.:
                                                 21-cv-7957 LAK and
 8                                               21-cv-7959 LAK
 9         LAWRENCE D. LIEBER,
10                Defendant and Counterclaimant.
           ------------------------------------------X
11         MARVEL CHARACTERS, INC.,
12                Plaintiff and Counterclaim-Defendant,
13                    -against-
14         KEITH A. DETTWILER, in his capaciity as
15         Executor of the Estate of Donald L. Heck,
16                Defendant and Counterclaimant.
           ------------------------------------------X
17         MARVEL CHARACTERS, INC.,
18                Plaintiff and Counterclaim-Defendant,
19                    -against-
20         PATRICK S. DITKO, in his capacity as
           Administrator of the Estate of Stephen J.
21         Ditko,
22                Defendant and Counterclaimant.
           ------------------------------------------X
23                         DATE: October 25, 2022
                           TIME: 9:41 A.M.
24
              (Caption continues on following page.)
25

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                                                                        Page 2

1
2                        REALTIME VIDEOTAPED DEPOSITION
3          of the Defendant, LARRY LIEBER, taken by
4          the Plaintiff and Counterclaim-Defendant,
5          pursuant to a Court Order and to the
6          Federal Rules of Civil Procedure, held at
7          the offices of O'Melveny & Myers, LLP, 7
8          Times Square, Times Square Tower, New York,
9          New York 10036, before Karyn Chiusano, a
10         Notary Public of the State of New York.
11
12
13
14
15
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19
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21
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23
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25

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                                                                        Page 3

1
2          A P P E A R A N C E S:
3
4          O'MELVENY & MYERS, LLP
             Attorneys for the Plaintiff and
5            Counterclaim-Defendant
             MARVEL CHARACTERS, INC.
6            7 Times Square
             Times Square Tower
7            New York, New York 10036
             BY: DANIEL PETROCELLI, ESQ.
8            dpetrocelli@omm.com
9
           TOBEROFF & ASSOCIATES, P.C.
10           Attorneys for the Defendant
             and Counterclaimant
11           LAWRENCE D. LIEBER
             23823 Malibu Road ~ Suite 50-363
12           Malibu, California 90265
             BY: MARC TOBEROFF, ESQ.
13           mtoberoff@toberoffandassociates.com
14
15
16         ALSO PRESENT:
             MARCELO RIVERA, Videographer
17           MOLLY LENS, O'Melveny & Myers, LLP
             DANIELLE FEUER, O'Melveny & Myers, LLP
18           ELI BARD, via Zoom
             JAYMIE PARKKINEN, via Zoom
19
20
21
22                        *               *                 *
23
24
25

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                                                                             Page 4

1
2             F E D E R A L              S T I P U L A T I O N S
3
4
5             IT IS HEREBY STIPULATED AND AGREED by and
6          between the counsel for the respective
7          parties herein that the sealing, filing and
8          certification of the within deposition be
9          waived; that the original of the deposition
10         may be signed and sworn to by the witness
11         before anyone authorized to administer an
12         oath, with the same effect as if signed
13         before a Judge of the Court; that an
14         unsigned copy of the deposition may be used
15         with the same force and effect as if signed
16         by the witness, 30 days after service of
17         the original & 1 copy of same upon counsel
18         for the witness.
19
20            IT IS FURTHER STIPULATED AND AGREED that
21         all objections except as to form, are
22         reserved to the time of trial.
23
24                             *         *         *            *
25

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                                                                     Page 156

1                                 LARRY LIEBER
2                   Q.     Okay.
3                   A.     -- as long as they accepted my
4          work, they paid me for it.
5                   Q.     And you said Stan always
6          accepted your work; correct?
7                          MR. TOBEROFF:                Misstates his
8                    testimony.
9                   Q.     You can answer.
10                  A.     Yes.
11                         Wait a minute.                   As far as I
12         know, yes. Stan always -- I can't recall
13         him not.
14                  Q.     Have you made any attempt to
15         get a copy of those checks from 1958 to
16         1965?
17                  A.     No.
18                         I don't even -- no.
19                  Q.     Let me ask you about some of
20         the characters.
21                         You worked on "IRON MAN";
22         right?
23                  A.     Yes.
24                  Q.     You wrote the script; right?
25                  A.     Yes.

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1                                 LARRY LIEBER
2                                E X H I B I T S
3
4          PLAINTIFF'S         EXHIBITS
5
6          EXHIBIT        EXHIBIT                                         PAGE
7          NUMBER         DESCRIPTION
8          1              Letter being dated
9                         January 31, 2011                                23
10         2              Deposition transcript
11                        with attached errata
12                        sheet                                           31
13         3              Document, entitled "A
14                        Conversation with
15                        Artist-Writer Larry Lieber,
16                        conducted & Edited by Roy
17                        Thomas, Transcribed by
18                        Jon B. Knutson"                                 35
19         4              Document entitled:
20                        "Comic Book Marketplace,
21                        Special Halloween
22                        Horror-Fest! Jim Warren's
23                        Creepy & Eerie!                   Plus:
24                        Grisly, Gruesome and
25                        Ghastly...Pre-Code

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1                                 LARRY LIEBER
2                         Horror!"                                         41
3          5              Document, entitled:
4                         "The Larry Lieber Interview,
5                         by Barry Dutter                                  43
6          6              Document, entitled:
7                         "Tribute: 2003 Kirby Tribute
8                         Panel"                                           45
9          7              Document, entitled:                      "20th
10                        Century Danny Boy"                               49
11         8              Document with picture of
12                        Stan Lee on cover, entitled:
13                        "Special STAN LEE 85th
14                        Birthday Issue!"                                 51
15         9              Document, entitled:
16                        "Alter Ego, It Finally
17                        Happens!          Jack Kirby Takes
18                        Over Alter Ego!"                                 54
19         10             CD of video                                      60
20         11             Document, entitled:                      "Back
21                        Issue Icons Interview of
22                        Larry Lieber"                                    62
23         12             CD of podcast                                    63
24         13             Transcript of podcast                            63
25         14             Audiotape                                        68

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1                                 LARRY LIEBER
2          15             Certified transcript of
3                         interview                                      68
4          16             E-mail                                         68
5          17             E-mail                                         80
6          18             E-mail                                         86
7          19             E-mail from Marvel: August
8                         1961 Omnibus Introduction
9                         from Cory Sedimeier,
10                        dated Thursday, January
11                        28, 2021 at 7:10 A.M.                          93
12         20             "Tales of Suspense,
13                        "IRON MAN" He Lives!
14                        He Walks! He Conquers!"                      158
15         21             One-page document,
16                        entitled "RAWHIDE KID"
17                        Gunfight with Yerby's
18                        Yahoos!"                                       176
19         22             Contract, beginning with
20                        the words: "AGREEMENT made
21                        this 14 day of June, 1978,
22                        by and between Larry
23                        Lieber"                                        182
24         23             Complaint for Declaratory
25                        Relief                                         216

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1                                  LARRY LIEBER
2          24             Defendant Lieber's
3                         Second Amended Responses
4                         and Objections to
5                         Plaintiff's First
6                         Interrogatories to
7                         Lawrence D. Lieber                             226
8          25             Defendant Lieber's
9                         Responses and Objections
10                        to Plaintiff's First Set
11                        of Requests for
12                        Admission to Lawrence D.
13                        Lieber                                         236
14         26             Plaintiff's First Request
15                        of First Set of Requests
16                        For Admission to Defendant
17                        and Counterclaimant
18                        Lawrence D. Lieber                             239
19         27             Life insurance policy                          305
20         28             Plot prepared by Stan
21                        Lee                                            309
22
23              (Exhibits retained by Court Reporter.)
24
25

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1                                  LARRY LIEBER
2                                I N D E X
3
4          EXAMINATION BY                                                PAGE
5          MR. PETROCELLI                                                9/289
6          MR. TOBEROFF                                                  252
7
8          INFORMATION AND/OR DOCUMENTS REQUESTED
9          INFORMATION AND/OR DOCUMENTS                                  PAGE
10         (None)
11
12
13
14
15         QUESTIONS MARKED FOR RULINGS
16         PAGE LINE QUESTION
17         72       6     Mr. Lieber, you did speak to
18                        your counsel during the break;
19                        is that correct?
20
21
22
23
24
25

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                                                                     Page 320

1                                 LARRY LIEBER
2                         C E R T I F I C A T E
3
4          STATE OF NEW YORK                     )
                                                 :     SS.:
5          COUNTY OF NEW YORK                    )
6
7                   I, KARYN CHIUSANO, a Notary Public
8          for and within the State of New York, do
9          hereby certify:
10                  That the witness whose examination is
11         hereinbefore set forth was duly sworn and
12         that such examination is a true record of
13         the testimony given by that witness.
14                  I further certify that I am not
15         related to any of the parties to this
16         action by blood or by marriage and that I
17         am in no way interested in the outcome of
18         this matter.
19                  IN WITNESS WHEREOF, I have hereunto
20         set my hand this 17th day of November,
21         2022.
22
23         <%18034,Signature%>
        KARYN CHIUSANO
24
25

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